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 1   SHARI RUSK, Bar # 170313
     Attorney At Law
 2   1710 Broadway #111
     Sacramento, CA 95818
 3   Telephone: (916) 804-8656
     Rusklaw@comcast.net
 4
 5   JOHN BALAZS, Bar #157287
     Attorney At Law
 6   916 2nd Street, 2nd Floor
     Sacramento, California 95814
 7   Telephone: (916) 447-9299
     John@Balazslaw.com
 8
     Attorneys for Defendant
 9   MARTIN ISIAS
10
11                          IN THE UNITED STATES DISTRICT COURT
12                        FOR THE EASTERN DISTRICT OF CALIFORNIA
13
14
     UNITED STATES OF AMERICA,       )            No. CR-S 04-305-DLJ
15                                   )
                    Plaintiff,       )            SEALING ORDER
16                                   )
          v.                         )
17                                   )            Date: April 8, 2008
     MARTIN ISIAS,                   )            Time: 10:00 a.m.
18                                   )            Hon. D. Lowell Jensen
                    Defendant.       )
19   _______________________________ )
20            For good cause shown, the defendant’s Sentencing Memorandum submitted on April
21   2, 2008, is the above-referenced case is hereby ordered sealed until further order of the
22   Court.
23            IT IS SO ORDERED.
24            Dated: April 3, 2008
25
                                            Honorable D. Lowell Jensen
26                                          United States District Judge
27
28
